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     OSCAR RIVERA-LOPEZ
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 7
 8                      UNITED STATES DISTRICT COURT
 9                     EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         ) CASE NO. 1:08-CR-175 LJO
                                       )
12              Plaintiffs,            ) STIPULATION AND ORDER
                                       ) TO CONTINUE STATUS HEARING
13   vs.                               ) FOR DEFENDANT
                                       )
14                                     )
     OSCAR RIVERA-LOPEZ,               )
15                                     )
                Defendants.            )
16                                     )
17         IT IS HEREBY STIPULATED by and between defendant OSCAR
18   RIVERA-LOPEZ, through his attorney, ROBERT L. FORKNER, and
19   plaintiff United States of America, through its counsel of
20   record, Assistant United States Attorney KIMBERLY A.
21   SANCHEZ, hereby stipulate and request the following:
22         1.   The presently scheduled status hearing date of June
23   26, 2009, at 10:00 a.m., in court room 4 before the
24   HONORABLE LAWRENCE J. O’NEILL shall be moved to July 17,
25   2009 at 11:00 a.m.
26         2.   The defense has requested the continuance in order
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 1   to permit a complete review of the Government’s plea offer
 2   with a certified interpreter and the defendant before
 3   further scheduling of this case.
 4       3.    The parties further request that time be excluded
 5   to and through that date in order to allow the defense to
 6   adequately prepare for the hearing in this case, in that the
 7   ends of justice served by a continuance “outweigh the best
 8   interests of the public and the defendant in a speedy
 9   trial.”   See 18 U.S.C. § 3161(h)(8).
10
11   DATED: June 24, 2009              /s/ ROBERT L. FORKNER
                                      Attorney for Defendant
12                                    OSCAR RIVERA-LOPEZ
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14
     DATED: June 24, 2009              /s/ KIMBERLY A. SANCHEZ
15                                    Assistant US Attorney
                                      KIMBERLY A. SANCHEZ
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 1                                        ORDER
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 3
 4            IT IS HEREBY ORDERED that the status hearing be
 5   continued to July 17, 2009 at 11:00 a.m., in court room 7
 6   for the defendant OSCAR RIVERA-LOPEZ. That the time period
 7   between June 26, 2009 and July 17, 2009 be excluded from the
 8   Speedy Trial Clock as the Court finds that the ends of
 9   justice served by a continuance “outweigh the best interests
10   of the public and the defendant in a speedy trial.” See 18
11   U.S.C. § 3161(h)(8).
12            IT FURTHER APPEARING that the continuance would permit
13   the defense to conduct necessary review of the Government’s
14   plea offer with a certified interpreter and the defendant
15   for adequate preparation in this case.
16            NO FURTHER CONTINUANCES.           ON JULY 17, 2009 WE EITHER
17   ACCEPT A CHANGE OF PLEA OR SET IT FOR TRIAL.
18
19   IT IS SO ORDERED.
20   Dated:     June 25, 2009                /s/ Lawrence J. O'Neill
     b9ed48                              UNITED STATES DISTRICT JUDGE
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